Case 4:20-cv-00478-ALM-KPJ Document 16 Filed 03/04/22 Page 1 of 1 PageID #: 1320




                             United States District Court
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

     ROSA A. SANCHEZ,
                                                 §
                                                 §
            Plaintiff,                           §
                                                 §
     v.                                          §       Civil No.: 4:20-cv-00478-ALM-KPJ
                                                 §
     KILOLO KIJAKAZI,                            §
     Acting Commissioner of Social Security,     §
                                                 §
            Defendant.                           §

                    MEMORANDUM ADOPTING REPORT AND
             RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

          Came on for consideration the report of the United States Magistrate Judge in this action,

  this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

  On February 10, 2022, the Magistrate Judge entered proposed findings of fact and

  recommendations (Dkt. #15) that the final decision of the Commissioner of Social Security

  Administration be affirmed.

          Having received the Report of the United States Magistrate Judge, and no timely objections

. being filed, the Court is of the opinion that the findings and conclusions of the Magistrate Judge

  are correct and adopts the Magistrate Judge’s report as the findings and conclusions of the Court.

          IT IS ORDERED that the decision of the Commissioner is AFFIRMED.

          IT IS SO ORDERED.
          SIGNED this 4th day of March, 2022.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
